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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )    CRIMINAL ACTION NO.
                                  )      2:11cr180-MHT
DERIC WILSON                      )         (WO)

                              JUDGMENT

    Upon consideration of the motion for leave to dismiss

the indictment without prejudice (doc. no. 69) filed in

this cause, and for good cause shown, the court is of the

opinion that the motion should be granted.                      It is,

therefore, CONSIDERED, ORDERED, ADJUDGED, and DECREED by

the court that said motion is granted and that the

indictment is dismissed without prejudice as to defendant

Deric Wilson.

    DONE, this the 10th day of February, 2012.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
